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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

ORLANDO PEREZ MARTINEZ,

      Plaintiff,

v.                                              Case No. 4:18-cv-546-TKW-MJF

SERGEANT K. LINTON, et al.,

      Defendants.
                                           /

                       ORDER APPOINTING COUNSEL

      This case has been in abeyance for the past 6 months. See Doc. 122. Plaintiff

recently filed a motion to appoint counsel (Doc. 127), and although he is not entitled

to appointed counsel in this civil case, it has become apparent to the Court that the

case will not be able to proceed to trial without counsel because Plaintiff cannot

speak English or afford an interpreter. Therefore, pursuant to 28 U.S.C. §1915(e)(1),

the Court contacted several attorneys to request that they represent Plaintiff.

Attorney James Cook agreed to do so. See Doc. 128 (notice of appearance).

           Accordingly, it is ORDERED that:

      1.      Plaintiff’s motion to appoint counsel (Doc. 127) is GRANTED, and

attorney James Cook is appointed to represent Plaintiff.

      2.      The Clerk shall contact Mr. Cook and explain the process for obtaining

limited reimbursement of costs and expenses from the Court’s Bench and Bar fund.
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      3.       Counsel for Defendants shall promptly provide Mr. Cook copies of the

exhibits on Defendant’s exhibit list (Doc. 88) and any discovery produced to or

received from Plaintiff.

      4.       Counsel shall confer and file a status report within 28 days from the

date of this Order indicating whether an additional settlement conference with the

magistrate judge might be productive, whether anything else remains to be done

before trial, and when the parties propose that the case be set for trial.

      5.       The Clerk shall mail a copy of this Order to Plaintiff at the address in

in Doc. 124.

      DONE AND ORDERED this 25th day of January, 2022.

                                          T. Kent Wetherell, II
                                         T. KENT WETHERELL, II
                                         UNITED STATES DISTRICT JUDGE




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